 

Case 1:20-cv-06824-RMB-JS Document 1 Filed 06/04/20 Page 1 of 16 PagelD: 1

IN THE UNITED STATES COURT FOR
THE EASTERN DISTRICT OF PENNSYLVANIA

 

EDUARDO ROSARIO : CIVIL NO.

v.
ALEX TORRES PRODUCTIONS, INC.

and

LA GUIRA, INC. d/b/a RED WINE :
RESTAURANT : COMPLAINT

 

COMPLAINT-CIVIL CASE

NGW COMES THE PLAINTIFF and prays, alleges and states as follows:

PARTIES

1. Plaintiff, Eduardo Rosario is an adult individual, who at all times relevant hereto is
paraplegic who requires the use of a wheelchair at all times for mobility and who resides at 2940
A. Waldorf Avenue, Camden, New Jersey.

2. Defendant, Alex Torres Productions, Inc., is a foreign corporation or other business
entity, authorized to do business in the Commonwealth of Pennsylvania, having its principle place
of business located at 651 Weybridge Court, Lake Mary, Fl, 32746. (“Torres”)

3. Defendant, La Guira, Inc. is a corporation or other business entity, organized and
existing pursuant to the laws of the Commonwealth of Pennsylvania, which does business as the
Red Wine Restaurant, having its principle place of business at 701 Adams Avenue, Philadelphia

PA 19124. (“Red Wine”)
 

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JURISDICTION AND VENUE

4. This Court has jurisdiction pursuant to 42 U.S.C. §12101 et. seq. because the instant
case arises under federal law, specifically under the American with Disabilities Act as amended,
Subchapter IH, § 12182. (42 USC 12182), and its implementing regulations under 28 C.F.R. §
36.101 et seq. Also, the Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 for civil
actions arising under the laws of the United States; and for actions under laws providing for the
protection of civil rights as per 28 U.S.C. § 1343. On this matter, the Court has supplemental
jurisdiction over claims based in Pennsylvania State Law as stated in 28 U.S.C. § 1367.
Declaratory and injunctive relief is also pursued under 28 U.S.C. §§ 2201 and 2202. Venue is
proper pursuant to 28 U.S.C. § 1391(b}(2) as the Eastern District is the judicial district in which a
substantial portion of the events or omissions giving rise to the claims alleged herein occurred.
Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintitf demands trial by jury on all

triable matters of the instant case.

FACTUAL ALLEGATIONS

5. At all times relevant hereto, Defendant, Red Wine, owned, controlled and/or was
exclusively responsible for the maintenance and condition of a facility which is open to the public
known as the Red Win Restaurant, located at 701 Adams Avenue, Philadelphia PA 19124. (“Red
Wine”)

6. Defendant, Red Wine offered the use of its location to performers to provide

entertainment services to its customers.
 

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7. Customers who which to attend the performances were required to pay an
admission fee.

8. At all times relevant hereto Defendant, Torres, was a promoter who provided
entertainers and/or performers to businesses such as Defendant, Red Wine.

9. Upon information and belief, Defendant, Red Wine, hired Defendant, Torres to
promote a comedy show to take place at the Red Wine Restaurant on February 10, 2019.

10. Defendant, Torres was responsible to ensure that accommodations for the show
were compliant with the Americans with Disabilities Act of 1990, as amended 42 USC, Chapter
126, 12101 et. seq., (SADA”) and the local equivalency thereof.

11. Plaintiff purchased a ticket to the comedy show after confirming that the Red Wine
Restaurant was accessible to person in a wheelchair.

12. On February 10, 2019, Plaintiff, a resident of New Jersey was denied participation
and/or use of the facilities under the contro! and management of Defendants, because said facilities
were neither fully accessible and/or independently usable to people who ride wheelchairs, to wit.
the comedy show was on a lower floor which was only accessible by stairs.

13. The Red Wine Restaurant is a place of public accommodation under the meaning
of the ADA, as per 42 USC 12181(7)(A) Plaintiff has a mobility disability that substantially limits
one or more of his major life activities, including walking and climbing stair and thus is disabled
under the meaning and pursuant to the ADA

14. Plaintiff, who requires a wheelchair at all times, was unable to access the lower
floor, where rooms and amenities under control of Defendants, are located.

15. A guest elevator was not available and alternatives for access were not offered,

although Plaintiff was assured that the facility was wheelchair accessible.
 

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16. Plaintiff suffered denial of equal services and access as compared to other venue
guests not having a mobility disability, humiliation resulting from being singled out as a person
with a disability and the inconvenience of having the added inconvenience being unable to attend
the advertised show.

17. The lower floors of the Red Wine lack minimum accessibility requirements under
the ADA and its interpreting rules and regulations, as contained in the Code of Federal
Regulations.

18. A public accommodation shall make reasonable modifications in, practices, or
procedures when the modifications are necessary to afford goods, services, facilities, privileges,
advantages, or accommodations to individuals with disabilities. 42 U.S.C. §12182(b)\(2)(A)(i); 28
C.F.R. §36.302(a). The defendant discriminated against the plaintiff based upon the plaintiff's
disability by (a) failing to make a requested reasonable modification that was (b) necessary to
accommodate the plaintiff's disability.

19. Lack of access and denial of participation and “...full and equal enjoyment of the
goods, services, facilities, privileges, advantages, or accommodations of any place of public
accommodation...” to Plaintiff is exclusively due to Defendants” failure to observance, of among
other statutes, ADA’s minimum accessibility requirements for commercial facilities, more
specifically Section 12182 et. seq. of ADA, as amended, which prays as follows:

“Prohibition of discrimination by public accommodations

(a) General rule
No individual shall be discriminated against on the basis of disability in the full

and equal enjoyment of the goods, services, facilities, privileges, advantages,
or accommodations of any place of public accommodation by any person who
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owns, leases (or leases to), or operates a place of public accommodation.
(b) Construction
(1) General prohibition
(A) Activities
(i) Denial of participation

It shal! be discriminatory to subject an individual or class of individuals on the
basis of a disability or disabilities of such individual or class, directly, or
through contractual, licensing, or other arrangements, to a denial of the
opportunity of the individual or class to participate in or benefit from the goods,
services, facilities, privileges, advantages, or accommodations of an entity.

(ii) Participation in unequal benefit

It shall be discriminatory to afford an individual or class of individuals, on the
basis of a disability or disabilities of such individual or class, directly, or
through contractual, licensing, or other arrangements with the opportunity to
participate in or benefit from a good, service, facility, privilege, advantage, or
accommodation that is not equal to that afforded to other individuals.

(iit) Separate benefit

St shall be discriminatory to provide an individual or class of individuals, on
the basis of a disability or disabilities of such individual or class, directly, or
through contractual, licensing, or other arrangements with a good, service,
facility, privilege, advantage, or accommodation that is different or separate
from that provided to other individuals, unless such action is necessary to
provide the individual or class of individuals with a good, service, facility,
privilege, advantage, or accommodation, or other opportunity that is as
effective as that provided to others.

(iv) Individual or class of individuals

For purposes of clauses (i) through (ili) of this subparagraph, the term
"individual or class of individuals" refers to the clients or customers of the
covered public accommodation that enters into the contractual, licensing or
other arrangement.

(B) Integrated settings
Goods, services, facilities, privileges, advantages, and accommodations shall

be afforded to an individual with a disability in the most integrated setting
appropriate to the needs of the individual.
 

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(C) Opportunity to participate
Notwithstanding the existence of separate or different programs or activities
provided in accordance with this section, an individual with a disability shall
not be denied the opportunity to participate in such programs or activities that
are not separate or different.”

20. The ADA, as amended, was enacted on July 26, 1990. It was at the time the first
comprehensive federal civil rights law prohibiting discrimination due to a disability. The statute is
meant to protect the rights of individuals with disabilities in the areas of employment, access to
both State and local government services, as well as places of public accommodation and
transportation.

21. “In enacting the ADA, Congress adopted two distinct systems for regulating
building accessibility: one to apply to existing facilities (those designed and constructed for
occupancy before January 26, 1993) and another to apply to later-constructed facilities. 42 U.S.C.
§§ 12183(a)(1) and 12182(b)(2)(A)(iv).

22. The grandfathered facilities must remove barriers to access only to the extent that
such removal is "readily achievable." 42 U.S.C. § 12182(b)\(2)(A)(iv). "Readily achievable" is
defined as “easily accomplishable and able to be carried out without much difficulty or expense.”
42 U.S.C. § 12181(9).” See Long v. Coast Resorts, Inc., 267 F.3d 918.

23. Title HI of the former, requires places that provide public accommodation to
comply with ADA standards and to be readily accessible to, and usable by, individuals with
disabilities, as per 42 U.S.C. §§ 12181-89.

24, Defendants are required by the ADA to remove existing architectural barriers when
such removal is readily achievable for places of public accommodation that were built prior to

January 26, 1992, according to and 42 U.S.C. § 12182(b)(2)(A)(iv), and its rules and regulations

under 28 C.F.R. § 36.304(a).
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25,

The ADA lists factors for determining whether a measure is “readily achievable”,

looking at the difficulty and expense of the measure as balanced against the resources available to

the covered entity. These factors are:

the nature and cost of the action needed under the (ADA);

the overall financial resources of the facility or facilities involved in the action;
the number of persons employed at such facility;

the effect on expenses and resources or the impact otherwise of such action upon
the operation of the facility;

the overall financial resources of the covered entity, the overall size of the business
of a covered entity with respect to the number of its employees; the number, type,
and location of its facilities; and

the type of operation or operations of the covered entity, including the composition,
structure, and functions of the workforce of such entity; the geographic
separateness, administrative or fiscal relationship of the facility or facilities in
question to the covered entity. (42 § U.S.C. 12181(9); 28 C.F.R. § 36.304),
“Plaintiff bears the initial burden of production to present evidence that a suggested
method of barrier removal is readily achievable, i.e., can be accomplished easily
and without much difficulty or expense. If Plaintiff satisfies this burden, Defendant
then has the opportunity to rebut that showing. Defendant bears the ultimate burden
of persuasion regarding its affirmative defense that a suggested method of barrier
removal is not readily achievable.” Colorado Cross Disability Coalition v.
Hermanson Family Ltd. Partnership I, 264 F.3d 999. Architectural barrier removal

should comply with ADAAG to the extent of being readily achievable. 28 C.F.R.
 

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§36.304(d)(1); ADA Technical Assistance Manual HI1-4.4300: Pickern v. Best
Western Timber Cove Lodge Marina Resort, 2002 WL 202442. See also D'Lil v.
Stardust Vacation Club, 2001 WL 1825832 (finding ADAAG “valuable guidance”
even with respect to existing facilities)

26, In accordance with the aforementioned, If there has been alteration to Defendants’
facilities since January 26, 1992, Defendants are then required to ensure to the maximum extent
feasible, that the altered portions of the facilities are readily accessible to, and usable by individuals
with disabilities, including individuals whe use wheelchairs, as per 28 C.F.R. § 36.402.

27. Alternatively, If the Defendants’ facilities were designed and constructed after
January 26, 1992, as defined in 28 C.F.R. § 36.401, then the Defendants’ facilities must be readily
accessible to and usable by individuals with disabilities as defined by the ADA.

28. Architectural barriers removal could be readily achieved, and access easily
provided if Defendant executes simple alterations to the facilities such as elevators, commercial
vertical platform wheelchair lifts, inclined wheelchair stair lifts, regular inclined ramps and the
proper placement of bathroom fixtures in the guest rooms.

29, Alf disabled Pennsylvanians are entitled to full and equal accommodation,
advantages, facilities, and privileges of any place of public accommodation under the Pennsylvania
Human Relations Act, 43 P.S. § § 951—963.

30. Last but not least, the law mandates that owners of places of public
accommodations remove architectural barriers to ensure that individuals with disabilities are not
excluded because of their reliance on a mobility device, as per The Pennsylvania Human Relations

Act and applicable code provisions.
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31. Thus, the ADA and Pennsylvania Law impose on the Defendants a mandatory

requirement for places of public accommodation accessible to disabled individuals.

FIRST CAUSE OF ACTION
VIOLATION OF THE AMERICAN WITH DISABILITIES ACT

32. All prior allegations are herein re-alleged and incorporated into this cause of action.

33. Plaintiff possesses a qualified disability under the meaning of the ADA, to wit, a
mobility-related disability that requires the use of a wheelchair at all times. See 42 U.S.C.§
12131(2).

34. Title II of the American with Disabilities Act, as amended, mandates that persons
with disabilities are entitled to equal access to places of public accommodation. Failure to provide
said access 1s considered to be discrimination under the meaning of the law.

35. Compliance with Title III of the ADA means that public accommodation facilities
must be readily accessible to, and independently usable by, disabled persons. 42 U.S.C. §§ 12181-
89 Accessibility standards are specified and codified under 28 C.F.R. § Pt. 36.

36. Red Wine is a place of public accommodation as per 42 U.S.C. § 12181(7)(E).

37. Defendant has failed to remove architectural barriers and/or alter its facilities in
order to make them readily accessible to people with disabilities according to 42 U.S.C. §
12183(a}(1).

38. | Defendants have discriminated against plaintiffs by failing to provide a full and
equal opportunity to enjoy the services Defendants provide, as per 42 U.S.C, §§ 12182,

12183(a)(1). 23. Defendants inobservance of the law is ongoing and continuous, requiring
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declaratory and injunctive relief appropriate by means of 42 U.S.C. § 12182, as well as Fed. R.

Civ. P. 57, and 28 U.S.C. § 2201.

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SECOND CAUSE OF ACTION
VIOLATION OF THE PENNSYLVANIA
HUMAN RELATIONS ACT, 43 P.S. § § 951—963

All prior allegations are herein re-alleged and incorporated into this cause of action.

The Pennsylvania Human Relations Act, is comprised of the Pennsylvania Human

Relations Act, 43 P. S. § § 951—963 (which provides the substance of the law) and Chapter 44

of the Pennsy]vania Code, “Discrimination On The Basis Of Handicap Or Disability”. (‘PHRA”)

41.

In general, disability discrimination claims under the PHRA rise or fall in tandem

with disability discrimination claims brought pursuant to the federal ADA.

42.

Defendants are subject to PHRA because the Red Wine Restaurant is a place of

public accommodation as defined by this statute, as well as the ADA.

43.

The PHRA reads:

The opportunity for an individual to obtain employment for which he is qualified,
and to obtain all the accommodations, advantages, facilities and privileges of any
public accommodation and of any housing accommodation and commercial
property without discrimination because of race, color, familial status. religious
creed, ancestry, handicap or disability, age, sex, national origin, the use of a guide
or support animal because of the blindness, deafness or physical handicap of the
user or because the user is a handler or trainer of support or guide animals is hereby
recognized as and declared to be a civil right which shall be enforceable as set forth
in this act.

44, The law’s definition of “public accommodation” includes
accommodation, resort or amusement which is open to, accepts or solicits the

patronage of the general public, including but not limited to inns, taverns,
roadhouses, hotels, motels, whether conducted for the entertainment of transient
 

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guests or for the accommodation of those seeking health, recreation or rest, or
restaurants or eating houses, or any place where food is sold for consumption on
the premises, buffets, saloons, barrooms or any store, park or enclosure where
spirituous or malt liquors are sold, ice cream parlors, confectioneries, soda
fountains and all stores where ice cream, ice and fruit preparations or their
derivatives, or where beverages of any kind are retailed for consumption on the
premises, drug stores, dispensaries, clinics, hospitals, bathhouses, swimming pools,
barber shops, beauty parlors, retail stores and establishments, theaters, motion
picture houses, airdromes, roof gardens, music halls, race courses, skating rinks,
amusement and recreation parks, fairs, bowling alleys, gymnasiums, shooting
galleries, billiard and pool parlors, public libraries, kindergartens, primary and
secondary schools, high schools, academies, colleges and universities, extension
courses and all educational institutions under the supervision of this
Commonwealth, nonsectarian cemeteries, garages and all public conveyances
operated on land or water or in the air as well as the stations, terminals and airports
thereof, financial institutions and all Commonwealth facilities and services,
including such facilities and services of all political subdivisions thereof, but shall!
not include any accommodations which are in their nature distinctly private.

45, The statute makes it illegal for any person in the position of either Defendants to
with refuse withhold or deny any of the accommodations, advantages, facilities or privileges of
such public accommodation, resort or amusement on the basis of a disability.

46. Plaintiff is an individual with disabilities within the definition set forth by the
PHRA. As such, he is an individual with a physical impairment, that prevents the exercise of
walking, a normal bodily function.

47, The PHRA makes it unlawful for an owner of a place of public accommodation to
deny an individual with a disability, directly or indirectly, any of the advantages. facilities, or
privileges of such a place of public accommodation. Defendants have failed to remove
architectural barriers in Red Wine.

48, Prior allegations in the present instance case, are also alleged herein as they are

related to the human rights violations under PHRA forming the basis of this cause of action, case

and controversy.
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49, Discrimination takes place once an owner of a public accommodation facility
refuses to remove architectural barriers present at said facility, or refusal to take steps necessary
to ensure that a disabled person that uses a mobility device is not excluded or denied services at
places of public accommodation. Again, Defendant in the instant case has failed to remove
architectural barriers, contrary to the PHRA.

50. According to the PHRA all persons in the Commonwealth of Pennsylvania are
entitled to full and equal accommodations, advantages, facilities and privileges of any place of
public accommodation unless limited otherwise by law.

51. Plaintiff is entitled to protection and remedies under PHRA as any other person in
the Commonwealth of Pennsylvania; to wit, full and equal accommodations, advantages, facilities
and privileges of any place of public accommodation.

52. It ts unlawful to discriminate against a person based on a disability, under PHRA.
Defendants have incurred in violation of Pennsylvania Law by discriminating against Plaintiff by
operating a facility that does not provide full and equal privileges to people with disabilities who
rely on devices like wheelchairs for mobility.

53. Defendants’ failure to observe the law is ongoing and continuous, requiring
declaratory and injunctive relief appropriate by means of PHRA as well as per the ADA and its
implementing regulations.

34. Defendants’ failure to observance of the law is ongoing and continuous, requiring
declaratory and injunctive relief appropriate by means of PHRA as well as Fed. R. Civ. P. 57, and

28 U.S.C. § 2201 as well as per the ADA and its implementing regulations.

55. Plaintiff alleges and affirms:

 
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1) He has suffered a personalized and concrete injury-in-fact of a legally cognizable
interest; that is, Plaintiff was denied by Defendants of access and participation of; and the full and
equal enjoyment of the goods, services, facilities, privileges, advantages, or accommodations
provided by Red Wine, as guaranteed under Federal Law and State Law

2) The Plaintiffs injury is traceable to the Defendants’ conduct, as denial of
participation and equal access to services is exclusively due to Defendants’ lack of implementation
of removal of architectural! barrier and accessibility design implementation for the benefit of people
with disabilities, again as mandated by State and Federal Law (3) It is likely, as opposed to
speculative, that a favorable court decision will redress the plaintiff's injury, as injunctive relief
provided by the Court on its day, will provide for the removal of architectural barriers present that
impede the provision of equal access and services to Plaintiff at the facilities of Red Wine, which

effectively resolves the legal issue in this instance case.

RELIEF REQUESTED

The Plaintiff again demands trial by jury on all issues of the instant case, pursuant to Rule
38 of the Federal Rules of Civil Procedure; and that the Court provides:
a. Declaratory Judgement against Defendants based on a violation of the

Americans with Disabilities Act, by means of remedies enforced through 42 U.S.C.
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§12188(a)(1); Pennsylvania Human Relations Act and title 44 of the Pennsylvania Code, because
the Defendants’ facilities as described above are inaccessible to, and not independently usable
by, individuals with disabilities who use devices for purposes of mobility;

b. A Permanent Injunction pursuant to 42 U.S.C. § 12188(aX(2) and 28
C.F.R. § 36.504(a) enjoining the Defendant from further discriminating against disabled persons,
and requiring Defendant to remove architectural barriers present at the Red Wine Restaurant by
all means necessary to bring said facilities into compliance with the ADA, its rules and
regulations, so access is always provided to disabled individuals with mobility issues, now and

from on henceforth.

c, Damages, in an amount to be determined by this Court;
d. Reasonable attorney’s fees and costs of suit; and
e. Any other relief as this Court sees fit to provide to resolve the issues in the
instant case.
RESPECTFULLY,
LENTO LAW GROUP, P.C.

  

BY:
JO . FEINSTEIN, ESQUIRE
Lento Law Group, P.C.
1500 Market Street, 12th Floor, East Tower
Philadelphia, Pennsylvania 19102
267-833-0200

Jafeinstein@Lentolawgroup.com
Attorney for Plaintiff
Dated: May 15, 2020

LAW OFFICES OF KEITH ALTMAN

BY:

 
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Tire JS 44 civil cover sheet and the information contained herein neither replace nor su
provided by local rules of court. This form, approved by the Judicial Conference of th

Case 1:20-cv-06824-RMB-JS Document 1 Filed 06/04/20 Page 15 of 16 PagelD: 15
CIVIL COVER SHEET

(Rev. G8/18)

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purpose of initiating the civ docket sheet. (SEE INSTRUCTIONS ON NEAT PAGE OF THIS FORM}

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nited States in September 1974, is required for the use of the Clerk of Court for the

 

I.

(a) PLAINTIFFS

Eduardo Rosario

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN US. PLAINTIFF CASES)

(¢) Attorneys (Firm Name, Address, and Telephone Number}

Lento Law Group. P.C.
1500 Market Street. 12th Floor - East Fower, Phila., PA 19102

DEFENDANTS

Restaurant

NOTE:

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County of Residence of First Listed Defendant

Alex Torres Productions, Inc., and La Guira, Inc d/b/a Red Wine

Philadelphia

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
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THE. CITIZENSHIP GF PRINCIPAL PARTIES (Place an “X" in Que Box for Plainnff

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71 U.S. Government 7.3 Federal Question PTF DEF PTF DEF
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VI. CAUSE OF ACTION

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes aniess diversity):

 

 

Bricf description of cause:
not wheelchair accesible

 

VIE, REQUESTED IN

COMPLAINT:

J CHECK IF THIS IS A CLASS ACTION
UNDER RULE 23, F.R.Cv.P.

DEMAND §

CHECK YES only if demanded in complaint:

JURY DEMAND:

1 Yes ONo

 

VIE. RELATED CASE(S)

(Sev instructions):

 

 

 

IF ANY JUDGE DOCKET NUMBER
DATE SIGNATURE GF ATTORNEY OF RECORD
06/04/2020 Joseph Lento, Esquire
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
 

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JS 44 Reverse (Rev. 08/18)

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

L(a)  Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
then the official, giving both name and title.

(b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)

(c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section "(see attachment)".

I. Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings, Place an "X"
in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
Federal question, (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence, and box | or 2 should be marked.
Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
cases.)

TH. — Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

TV. ‘Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
that is most applicable. Click here for: Nature of Suit Code Descriptions.

Vi Origin. Place an "X" in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.
Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action, Use the date of remand as the filing
date.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
multidistrict litigation transfers.
Multidistrict Litigation — Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
Section 1407.
Multidistrict Litigation — Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket. PLEASE
NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to changes in
statue.

VI. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII. Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.
VIE. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket

numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
